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          EXHIBIT A
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THIS AGREEMENT (“Agreement”), made and entered into this ____21st day of
   November
______________, 2024, by and among the FEDERAL HIGHWAY
ADMINISTRATION, UNITED STATES DEPARTMENT OF TRANSPORTATION,
(hereinafter referred to as “FHWA”) and the NEW YORK STATE DEPARTMENT OF
TRANSPORTATION, an agency of the State of New York, Triborough Bridge and
Tunnel Authority, and New York City Department of Transportation, (hereinafter
referred to as “NYSDOT, TBTA, and NYCDOT ”).


                                     WITNESSETH:

WHEREAS, section 1012(b) of the Intermodal Surface Transportation Efficiency Act of
1991 (ISTEA), Public Law 102-240, as amended by section 1216(a) of the Transportation
Equity Act for the 21st Century (TEA-21), and section 1604 (a) of the Safe, Accountable,
Flexible, Efficient Transportation Equity Act: A Legacy for Users (SAFETEA- LU), Pub.
L. 109-59 (August 10, 2005) establishes the Value Pricing Pilot Program, hereinafter
referred to as the “pilot program,” and permits the FHWA to allow the collection of tolls
as part of the value pricing pilot program established under Section 1012(b); and

WHEREAS, Section 1012(b) of ISTEA, as amended, authorizes the Secretary of
Transportation to enter into cooperative agreements with as many as fifteen (15) State or
local governments or public authorities to establish, maintain, and monitor value pricing
programs, or projects; and

WHEREAS, NYSDOT, through the execution of cooperative agreements for prior value
pricing projects, is one of the fifteen participants in the pilot program; and

WHEREAS, NYSDOT has requested that the FHWA enter into an agreement with
NYSDOT, TBTA, and NYCDOT related to establishing, maintaining, and monitoring a
value pricing project, known as the Central Business District Tolling Program (CBDTP)
(hereinafter referred to as the “Project”), as part of NYSDOT’s participation in the value
pricing pilot program; and

WHEREAS, as part of the CBDTP value pricing pilot program, TBTA intends to toll an
area which includes portions of highway facilities that have been constructed,
reconstructed, rehabilitated, restored, resurfaced or maintained with title 23 funds as
described in Attachment A, and made part of this agreement; and

WHEREAS, the FHWA has determined that this Agreement is necessary to oversee and
administer the collection of tolls pursuant to Section 1012(b)(4) of ISTEA, as amended;
and

WHEREAS, Section 1012(b) of ISTEA, as amended requires that all revenues received
from the operation of a value pricing project be applied only toward the project’s
operating costs (including project implementation costs; mitigation measures to deal with
adverse financial effects on low-income drivers; the proper maintenance of the Project;
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any reconstruction, rehabilitation, restoration, or resurfacing of the Project; any debt
service incurred in implementing the project; a reasonable return on investment of any
private person financing the project), and other projects eligible for assistance under title
23, United States Code; and

WHEREAS, this Agreement is neither intended to, nor shall it, result in the independent
participation by TBTA and NYCDOT in the value pricing pilot program, it being
expressly understood that TBTA’s and NYCDOT’s participation in the value pricing
pilot project approved in this Agreement is (i) derivative of and only exists through
NYSDOT’s participation in the value pricing pilot program and (ii) limited to the Project;
and

NOW THEREFORE, in consideration of the premises and mutual undertakings of the
parties, and in conformity with all applicable laws, the NYSDOT, TBTA, NYCDOT, and
FHWA hereby agree as follows:

   (1) The FHWA agrees that TBTA may operate the Project as a toll Project in
       accordance with the provisions of this Agreement and as a value pricing project,
       as part of NYSDOT’s value pricing pilot program.

   (2) Pursuant to Section 1012(b) of ISTEA, as amended, TBTA will use all toll
       revenues received from the operation of the Project for the operating costs of the
       project as described in attachment A (including project implementation costs;
       mitigation measures to deal with adverse financial effects on low-income
       drivers; the proper maintenance of the Project; any reconstruction, rehabilitation,
       restoration, or resurfacing of the Project; any debt service incurred in
       implementing the project; a reasonable return on investment of any private
       person financing the project), and any other projects eligible for assistance under
       title 23, United States Code.

   (3) The toll rates applicable to the Project will vary as described in Attachment A.
       and in accordance with Section 1012(b) of ISTEA, as amended including Sec.
       1012(b)(6) - HOV Passenger Requirements. Notwithstanding section 102(a) of
       title 23, United States Code, a State may permit vehicles with fewer than 2
       occupants to operate in high occupancy vehicle lanes if the vehicles are part of a
       value pricing pilot program under this section. Sec. 1012(b)(7) - Financial
       Effects on Low-Income Drivers – Any value pricing pilot program under this
       subsection shall include, if appropriate, an analysis of the potential effects of the
       pilot program on low-income drivers and may include mitigation measures to
       deal with any potential adverse financial effects on low-income drivers.

   (4) TBTA shall conduct or have an independent auditor conduct an annual audit of
       toll Project records to verify compliance with use of revenues and report the
       results of the audits to FHWA.




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(5) As of the date of the execution of this Agreement, the imposition of tolls under
    this Agreement does not render Federal-aid highways within the State of New
    York generally ineligible for Federal-aid highway funds where such highways
    are otherwise eligible under the particular funding program.

(6) NYSDOT, TBTA, and NYCDOT, as applicable, will continue to adequately
    maintain or cause to be adequately maintained, the highway facilities that have
    been constructed, reconstructed, rehabilitated, restored, or resurfaced or
    maintained with title 23 funds located in the Project.

(7) That TBTA agrees, upon reasonable notice, to make all of its records pertaining
    to the Project subject to audit by the FHWA. TBTA agrees to annually audit the
    records of the Project for compliance with the provisions of this Agreement and
    report the results thereof to FHWA. In lieu of the TBTA performing said audit, a
    report of the New York State Comptroller or an independent auditor furnished to
    FHWA may satisfy the requirements of this section.

(8) Effective on the date of this Agreement, the project is approved as a pilot
    program, and the following requirements shall apply:

   a. In order to carry out Section 1012(b)(5) of ISTEA, as amended, the FHWA
      and NYSDOT, TBTA and NYCDOT will cooperate and work together in the
      implementation of the Project.

   b. That TBTA and NYCDOT, as applicable, shall monitor and report on the
      project performance (Attachment B) from the date of implementation for a
      period of at least ten years or to the end of the life of the Project, whichever is
      sooner, to evaluate the effects on driver behavior, traffic volume, congestion,
      transit ridership, air quality, and availability of funds for transportation
      programs. Reports begin one year after the operation date and every two years
      thereafter.

   c. That TBTA and NYCDOT will identify benefits the application of tolls has in
      reducing climate pollution.

   d. That TBTA and NYCDOT will demonstrate the benefits mitigation measures
      provide to underserved communities.

(9) That NYSDOT, TBTA and NYCDOT agree to comply with all Federal laws and
    requirements applicable to this project, including the laws and policies
    applicable to the Value Pricing Pilot Program. Such laws and requirements
    include, but are not limited to Section 1012(b) of ISTEA, as amended, the
    guidance implementing Section 1012(b) of ISTEA, and 23 CFR Part 940 and
    950.




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FEDERAL HIGHWAY ADMINISTRATION
  ITED STATES DEPARTMENT OF TRANSPO
UNITED                      TRANSPORTATION

BY:: __________________________
                              ____
     ____________________________

       Executive Director
Title: _______________________


ATTACHMENT A – Project Description
ATTACHMENT B – Performance Metrics




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                                       Attachment A

Project Description

The CBD Tolling Program will implement a vehicular tolling program to reduce traffic
congestion in the Manhattan Central Business District (“CBD”), consistent with the MTA
Reform and Traffic Mobility Act. Traffic congestion is expected to be reduced by
disincentivizing use of vehicles within the CBD by imposition of tolls, and concurrently
by investments in transit that will incentivize use of transit systems instead of driving.
The project purpose is to reduce traffic congestion in the CBD in a manner that will
generate revenue for future transportation improvements, pursuant to acceptance into
FHWA’s Value Pricing Pilot Program.

The CBD consists of the geographic area of Manhattan south and inclusive of 60th Street,
but not including Franklin D. Roosevelt Drive (“FDR Drive”), West Side Highway/Route
9A, the Battery Park Underpass, and any surface roadway portion of the Hugh L. Carey
Tunnel connecting to West Street (the West Side Highway/Route 9A).

TBTA will toll vehicles entering the CBD via a cashless tolling system. The toll amount
will be variable, with higher tolls charges during peak periods when congestion is greater.
The toll will apply to all registered vehicles (i.e., those with license plates), with the
exception of qualifying vehicles transporting persons with disabilities, qualifying
authorized emergency vehicles, transit buses, and specialized government vehicles.
Passenger vehicles will be tolled no more than once a day. Taxis and for-hire vehicles
(“FHVs”) will be tolled on a per-trip basis for rides carrying passengers occurring wholly
or partially within the CBD.

The Project will use the same tolling infrastructure and tolling system equipment
described and evaluated in the Final Environmental Assessment for the Project (the
“Final EA”).

The environmental commitments made in the Finding of No Significant Impact will be
implemented as described in the Environmental Documents.

To address effects to low-income drivers, the Project will include a tax credit for CBD
tolls paid by residents of the CBD whose New York adjusted gross income for the
taxable year is less than $60,000. TBTA will coordinate with the New York State
Department of Taxation and Finance to ensure availability of documentation needed for
drivers eligible for the tax credit. In addition, the Project commits, for five years, to a
Low-Income Discount Plan offering low-income frequent drivers a 50 percent discount
on the full E-ZPass toll rate after the first 10 trips in each calendar month (excluding the
overnight period, which will already be deeply discounted).

The toll amounts will be graduated over a six year period in accordance with the toll rate
schedule below. Phase 1 will span 2025 through 2027, Phase 2 will span 2028 through
2030, and Phase 3 will commence in 2031.

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Toll Rate Schedule




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ATTACHMENT B – Performance Metrics

As developed in the Final EA and the Reevaluations for the Project dated June 2024 and
November 2024, the performance metrics of the system for evaluating the effectiveness
of the pilot program and managing congestion are related to reducing vehicles entering
the CBD and reducing VMT within the CBD. For reference, the amount of congestion
reduction within the CBD for the toll structure is as follows::
   •   Reduce daily vehicle miles traveled (VMT) within the Manhattan CBD by 6.4
       percent (Phase 1) to 8.9 percent (Phase 3)
   •   Reduce the number of vehicles entering the Manhattan CBD by 13.4 percent
       (Phase 1) to 17 percent (Phase 3)

Another important factor for measuring congestion reduction in the CBD related to transit
investment is transit ridership in the CBD.:
   •   Increase in transit use entering the CBD.

The program will be collecting a significant amount of data to assess, track, and trend the
direct and indirect effects of the project. These data, which are described in the following
bullets, will be made public on a regular basis in open data format to the greatest extent
practicable.

Direct Congestion Measures
   • Vehicle entries into the CBD (by type of vehicle, day of week, time of day)
   • Historic volumes entering the CBD (average fall weekday/weekend, time of day)
   • Taxi and FHV trips to, from, and within the CBD
   • Taxi and FHV VMT within the CBD

Indirect Congestion Measures
   • System-wide transit ridership for transit services providing CBD-related service
       (monthly total ridership by mode and transit operator)
   • Metropolitan Transportation Authority bus speeds within the CBD
   • Capital projects funded or financed through Project revenue

Monitored and Modeled Air Quality Measures
  • PM2.5
  • Nitrogen Oxides
  • Ozone: via modeling
  • Greenhouse Gases

Reporting on revenue and for audit purposes
   • Project revenue
   • Project capital and operating expenses



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